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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION




United States of America,                                   Case No. 3:15cr358

               Plaintiff

       -v-                                                  ORDER


Asif Ahmed Salim,

               Defendant




     On October 22, 2018, the government orally moved to dismiss Counts 1, 2, and 4 of the

Indictment. There being no objection, it is hereby ordered that the Government’s motion to dismiss

is granted. Counts 1, 2, and 4 of the Indictment are dismissed as to Asif Ahmed Salim.




                                                    s/ Jeffrey J. Helmick
                                                    United States District Judge
